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NOT FOR PUBLICATION

                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY


MICHELLE RAMIREZ,
                                                           Civil Action No. 14-01708
            Plaintiff,

                         v.                                        OPINION

WORLD MISSION SOCIETY, CHURCH OF
                                                                  April 1, 2024
GOD, A NJ NONPROFIT CORPORATION, et
al.,

           Defendants.


SEMPER, District Judge.

       The current matter comes before the Court on Defendants World Mission Society Church

of God New Jersey (“World Mission New Jersey”), Tara Whalen (“Byrne”), Richard Whalen

(“Whalen”), Dong Il Lee (“Pastor Lee”), Bong He Lee (“Bong Lee”), Victor Lozada (“Lozada”),

Albright Electric LLC, Lincoln Grill and & Café LLC, and Big Shine Worldwide, Inc.’s Motion

for Summary Judgment. (ECF 271, “MSJ.”) Plaintiff Michelle Ramirez opposed the motion. (ECF

277, “Opp.”) Defendants filed a reply. (ECF 278, “Reply.”) The Court has decided this motion

upon the submissions of the parties, without oral argument, pursuant to Federal Rule of Civil

Procedure 78 and Local Rule 78.1. For the reasons stated below, Defendants’ Motion for Summary

Judgment is GRANTED IN PART AND DENIED IN PART.
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    I.       FACTUAL BACKGROUND AND PROCEDURAL HISTORY 1

         In 2014, Plaintiff Michelle Ramirez filed a complaint against World Mission New Jersey,

World Mission Society Church of God South Korea (“World Mission South Korea”), Gil Jah

Chang (“Chang”), Joo Cheol Kim (“Kim”), Pastor Lee, Bong Lee, Byrne, Whalen, Lozada, Big

Shine Worldwide, Inc., Albright Electric LLC, and Lincoln Grill & Café LLC. Plaintiff alleges

that World Mission New Jersey, a not-for-profit corporation with its principal place of business in

New Jersey, coerced her into joining the organization based on several false representations and

nondisclosures. (ECF 49, SAC ¶¶ 3-4, 7.) World Mission South Korea is a for-profit corporation

based in South Korea. (Id. ¶ 8.) Plaintiff brings this action against World Mission New Jersey,

World Mission South Korea, as well as several individuals and corporations that were allegedly

involved in the wrongful conduct of World Mission New Jersey and World Mission South Korea.

(Id. ¶¶ 7-18.)

         After facing significant pressure from World Mission New Jersey’s recruiters, Plaintiff

eventually decided to join in the fall of 2006. (Id. ¶¶ 55, 120.) During the recruitment process, the

World Mission recruiters “actively concealed . . . the identity of the church’s leader[;]” had

Plaintiff known the identity of the leader, she would not have joined World Mission. (Id. ¶¶ 111,

125.) According to Plaintiff, Defendants coerced her into donating ten percent of her income to

the church based on misrepresentations that the money would be used for charitable purposes and

that none of the money would be used to fund salaries. (Id. ¶¶ 81-88.) Plaintiff alleges that the

money donated to World Mission New Jersey was transferred to World Mission South Korea and

was then used to compensate members of World Mission New Jersey. (Id. ¶¶ 89-94.)


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          The facts and procedural history are drawn from the Second Amended Complaint (ECF 49, “SAC”),
Defendants’ Motion for Summary Judgment (ECF 271, MSJ), Plaintiff’s Opposition (ECF 277, Opp.), both parties’
submissions regarding material facts (ECF 271-2; ECF 277-1; ECF 278-7), and documents integral to or relied upon
by the Complaint. See In re Burlington Coat Factory Sec. Litig., 114 F.3d 1410, 1426 (3d Cir. 1997).


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        Plaintiff further alleges that the donations were “used to create, train, and maintain a slave

labor force.” (Id. ¶ 156.) Plaintiff claims that World Mission New Jersey “indoctrinate[d]” its

members to believe that they had to live a life of poverty, and they “should commit to working

long hours in service to [Defendant] Chang.” (Id. ¶ 157.) Rather than being assigned work with

the church, Plaintiff alleges that World Mission New Jersey put its members to work in for-profit

companies where they made less than minimum wage. (Id. ¶ 158.) Plaintiff also alleges that

members of the church constantly threatened her, “coerced her to work” long hours with no pay,

and “alienated her from her family and friends” in a concerted effort to brainwash her. (Id. ¶ 69.)

Plaintiff also claims that World Mission New Jersey told its members that they were not allowed

to have children. (Id. ¶ 71.) If members of World Mission New Jersey became pregnant, the leaders

of the organization would allegedly instruct the members to get abortions. (Id. ¶ 74.) When

Plaintiff became pregnant around 2010, she claimed to have gotten an abortion in fear that she

would no longer be in good standing with World Mission New Jersey. (Id. ¶¶ 75-76.) Plaintiff

alleges that this caused her to “experience severe emotional pain and mental anguish [which led]

to a suicide attempt.” (Id. ¶ 77.)

        Plaintiff brought several claims against Defendants. Count I is for fraud based on false

representations regarding the donations being used for charitable purposes. (Id. ¶¶ 78-104.) Counts

II and III are for fraud based on nondisclosures related to World Mission South Korea’s leadership

and its use of the donated funds to maintain “slave labor[ers].” (Id. ¶¶ 105-77.) Count IV is for

intentional infliction of emotional distress. (Id. ¶¶ 178-87.) Count V is for negligence. (Id. ¶¶ 188-

93.) Count VI is for vicarious liability against Defendants Chang, Kim, Pastor Lee, Lee, Byrne,

and Lozada. (Id. ¶¶ 194-95.)




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         Plaintiff filed her initial Complaint on March 18, 2014. (ECF 1.) She filed an Amended

Complaint on May 9, 2014. (ECF 7.) Defendants filed a motion to dismiss on June 20, 2014, that

was terminated by the Court on July 2, 2014. (ECF 11, 17.) Defendants re-filed their motion to

dismiss on July 11, 2014. (ECF 20.) The motion was dismissed as moot, and the Court granted

Plaintiff leave to file a Second Amended Complaint on March 23, 2015. Defendants re-filed their

motion to dismiss on May 18, 2015. (ECF 50.) Plaintiff filed the Second Amended Complaint on

April 24, 2015. (ECF 49.) The Court terminated Defendants’ motion to dismiss the Second

Amended Complaint on November 13, 2015. (ECF 56.) Defendants filed their Answer to the

Second Amended Complaint on January 22, 2016. (ECF 59.) Defendants filed a new motion to

dismiss on April 25, 2017. (ECF 99.) The Court denied Defendants’ motion to dismiss on April 5,

2018. (ECF 107.) Defendants filed the instant motion for summary judgment on October 27, 2023.

(ECF 271, MSJ.) Plaintiff filed her opposition on December 18, 2023. (ECF 277, Opp.) Defendants

filed a reply brief on January 2, 2024. (ECF 283, Reply.)

   II.      LEGAL STANDARD

         Federal Rule of Civil Procedure 56(a) provides that summary judgment should be granted

if the movant shows that “there is no genuine issue as to any material fact and the moving party is

entitled to judgment as a matter of law.” Kreschollek v. S. Stevedoring Co., 223 F.3d 202, 204 (3d

Cir. 2000); see also Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). In deciding a

motion for summary judgment, a court must construe all facts and inferences in the light most

favorable to the nonmoving party. See Boyle v. Cnty. of Allegheny Pa., 139 F.3d 386, 393 (3d Cir.

1998) (citing Peters v. Del. River Port Auth. of Pa. & N.J., 16 F.3d 1346, 1349 (3d Cir. 1994)).

The moving party bears the burden of establishing that no genuine issue of material fact

remains. See Celotex Corp. v. Catrett, 477 U.S. 317, 322-23 (1986). “[W]ith respect to an issue on




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which the nonmoving party bears the burden of proof . . . the burden on the moving party may be

discharged by ‘showing’ — that is, pointing out to the district court — that there is an absence of

evidence to support the nonmoving party’s case.” Id. at 325.

       Once the moving party has met that threshold burden, the non-moving party “must do more

than simply show that there is some metaphysical doubt as to the material facts.” Matsushita Elec.

Indus. Co., Ltd. v. Zenith Radio Corp., 475 U.S. 574, 586 (1986). A fact is only “material” for

purposes of a summary judgment motion if a dispute over that fact “might affect the outcome of

the suit under the governing law.” Anderson, 477 U.S. at 248. A dispute about a material fact is

“genuine” if “the evidence is such that a reasonable jury could return a verdict for the nonmoving

party.” Id. Unsupported allegations, subjective beliefs, or argument alone, however, cannot

forestall summary judgment. See Lujan v. Nat’l Wildlife Fed’n, 497 U.S. 871, 888

(1988) (nonmoving party may not successfully oppose summary judgment motion by simply

replacing “conclusory allegations of the complaint or answer with conclusory allegations of an

affidavit.”). Thus, if the nonmoving party fails “to make a showing sufficient to establish the

existence of an element essential to that party’s case, and on which that party will bear the burden

of proof at trial. . . . there can be ‘no genuine issue of material fact,’ since a complete failure of

proof concerning an essential element of the nonmoving party’s case necessarily renders all other

facts immaterial.” Katz v. Aetna Cas. & Sur. Co., 972 F.2d 53, 55 (3d Cir. 1992) (quoting Celotex,

477 U.S. at 322-23). Moreover, the “mere existence of some alleged factual dispute between the

parties will not defeat an otherwise properly supported motion for summary judgment; the

requirement is that there be no genuine issue of material fact.” Anderson, 477 U.S. at 247-48.




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    III.       ANALYSIS

           A. Intentional Fraud Based on False Representations (Count I)

           Count I alleges intentional fraud arising out of false representations that donations would

be used for charitable purposes when in fact they were misappropriated for use by private

individuals and private entities. (ECF 49, SAC at 13.) Plaintiff brought Count I against World

Mission South Korea, World Mission New Jersey, Chang, Kim, Pastor Lee, Bong Lee, and Lincoln

Grill. (Id.)

                             1. Dismissal of Unserved Defendants

           As a preliminary matter, Defendants Chang, Kim, and World Mission South Korea were

never served, they never appeared on the docket or in Court, and Plaintiff has never contested their

lack of appearance throughout the decade of litigation in this case. (ECF 277-1 ¶ 5.) A plaintiff in

a civil action in federal court must complete service of their complaint within 90 days of filing or

within a period prescribed by the District Court. Fed. R. Civ. P. 4(m); Mathies v. Silver, 450 F.

App’x 219, 221 (3d Cir. 2011) (affirming district court’s dismissal of action in which plaintiff

failed to effect service). If the plaintiff fails to complete service within the specified time, Rule

4(m) requires the Court to determine whether the plaintiff has shown good cause for the failure.

See Mathies, 450 F. App’x at 221. Plaintiff does not contest that Defendants Chang, Kim, and

World Mission South Korea were never served. (ECF 277-1.) Over the course of this litigation,

Plaintiff has not shown proof of service or updated the Court on the status of service. Defendants

Chang, Kim, and World Mission South Korea have never appeared in this matter and have not




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otherwise litigated their defense. Accordingly, dismissal of these Defendants is warranted under

Rule 4(m) and Local Civil Rule 41.1(a).

                           2. Sua Sponte Dismissal of Bong Lee and Lincoln Grill for Failure

                               to State a Claim Pursuant to Rule 12(b)(6)

       Further, although Defendants have not filed a motion to dismiss for failure to state a claim,

the Court will assess the sufficiency of the operative Second Amended Complaint to determine if

the claims must be dismissed sua sponte pursuant to Rule 12(b)(6). A district court may on its own

initiative enter an order dismissing an action provided that the complaint affords a sufficient basis

for the court’s action. Bryson v. Brand Insulations, Inc., 621 F.2d 556, 559 (3d Cir. 1980); see also

Michaels v. State of N.J., 955 F. Supp. 315, 331 (D.N.J. 1996) (“It is well established that, even if

a party does not make a formal motion to dismiss, the court may, sua sponte, dismiss the complaint

where the inadequacy of the complaint is clear.”) The prior motion to dismiss in this case did not

raise 12(b)(6) pleading deficiencies. (ECF 99.) Accordingly, the Court did not previously assess

the sufficiency of the claims in its Opinion. (ECF 107.) As such, the Court will contemporaneously

assess the sufficiency of the claims as they were pled in the SAC. Importantly, mere “conclusory

allegations against defendants as a group” that “fail[] to allege the personal involvement of any

defendant” are insufficient to survive a motion to dismiss. Galicki v. New Jersey, No. 14-169, 2015

WL 3970297, at *2 (D.N.J. June 29, 2015). A plaintiff must allege facts that “establish each

individual [d]efendant’s liability for the misconduct alleged.” Id. When several defendants are

named in a complaint, plaintiff cannot refer to all defendants “who occupied different positions

and presumably had distinct roles in the alleged misconduct” without specifying “which

defendants engaged in what wrongful conduct.” Falat v. Cnty. of Hunterdon, No. 12-6804, 2013




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WL 1163751, at *3 (D.N.J. Mar. 19, 2013). A complaint that contains “impermissibly vague group

pleading” will be dismissed. Id.

       Additionally, “[w]hen a complaint involves allegations of fraud, a plaintiff must meet the

heightened pleading requirements of Rule 9(b) to state a claim under Rule 12(b)(6).” Franchitti v.

Cognizant Tech. Sols. Corp., 555 F. Supp. 3d 63, 68 (D.N.J. 2021) (citing Foglia v. Renal Ventures

Mgmt., LLC, 754 F.3d 153, 155 (3d Cir. 2014)); see also Fed. R. Civ. P. 9(b) (stating that a plaintiff

alleging fraud “must state with particularity the circumstances constituting fraud,” though

conditions of the mind such as knowledge may be pled generally). “In order to satisfy Rule 9(b),

a complaint must provide ‘all of the essential factual background that would accompany the first

paragraph of any newspaper story’— that is, the ‘who, what, when, where and how’ of the events

at issue.’” United States v. Eastwick Coll., 657 F. App’x 89, 93 (3d Cir. 2016) (quoting In re

Rockefeller Ctr. Props., Inc. Secs. Litig., 311 F.3d 198, 217 (3d Cir. 2002)). This standard has been

relaxed slightly for fraudulent omission claims where pleading specific times and places may not

be practicable, and instead, Rule 9(b) may be satisfied by “alleg[ing] what the omissions were, the

person responsible for failing to disclose the information, the context of the omission and the

manner in which it misled plaintiff and what defendant obtained through the fraud.” See Johansson

v. Cent. Garden & Pet Co., 804 F. Supp. 2d 257, 264 (D.N.J. 2011) (quoting Luppino v. Mercedes-

Benz USA, LLC, No. 09-5582, 2010 WL 3258259, at *7 (D.N.J. Aug. 16, 2010)).

       In assessing Count I, the Court will consider the elements of intentional fraud in

conjunction with each remaining defendant. The remaining Defendants are World Mission New

Jersey, Pastor Lee, Bong Lee, and Lincoln Grill. The elements of intentional fraud are “(1) a

material misrepresentation of presently existing or past fact; (2) knowledge or belief by the

defendant of its falsity; (3) an intention that the other person rely on it; (4) reasonable reliance




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thereon by the other person; and (5) resulting damages.” Banco Popular N. Am. v. Gandi, 876 A.2d

253, 260 (N.J. 2005). Here, the SAC alleges that Bong Lee transferred funds from World Mission

New Jersey to World Mission South Korea and that Bong Lee was responsible for “paying

compensation to some of the World Mission New Jersey[] ‘volunteers.’” (ECF 49, SAC ¶ 96.)

However, the SAC makes no allegations capturing the elements of intentional fraud as it relates to

Bong Lee. The SAC does not make any allegation that Bong Lee herself made a material

misrepresentation of a presently existing or past fact, nor does the SAC allege that Bong Lee

intended that Plaintiff rely on a misrepresentation that Lee made to her. Further, Count I (and

Count III, discussed in Section III.B infra) against Lincoln Grill fails for the same reason. The

SAC makes no affirmative allegations as to Lincoln Grill at all. (See generally ECF 49, SAC.) Due

to the absence of allegations regarding Lincoln Grill, the SAC fails to state a claim against Lincoln

Grill entirely. As such, the Court dismisses Lincoln Grill from this action.

                           3. Surviving Claims

       Turning to the final two Defendants in Count I, the Court will address Pastor Lee and World

Mission New Jersey in turn.

                                      a) Pastor Lee

       The SAC sufficiently alleges intentional fraud against Pastor Lee. Each of the five elements

of intentional fraud are sufficiently alleged: (1) Pastor Lee is alleged to make a material

misrepresentation that no one is paid from donations to World Mission New Jersey, (ECF 49, SAC

¶ 86); (2) Pastor Lee knew that these representations were false or dishonest, (id. ¶ 98); (3) Pastor

Lee made false representations with the intent to defraud and deceive Plaintiff into donating to

World Mission New Jersey, (id. ¶¶ 99-100); (4) Plaintiff justifiably relied on the false




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 representations, (id. ¶ 101); and (5) Plaintiff suffered damages in lost money and time. (Id. ¶ 102.)

 The Court now turns to the motion for summary judgment inquiry.

        In assessing Count I against Pastor Lee on a motion for summary judgment inquiry, the

 Court determines that genuine issues of material fact exist as to whether Pastor Lee made a material

 misrepresentation that no one got paid from donations to World Mission New Jersey, whether

 Pastor Lee knew that these representations were false or dishonest, and whether Pastor Lee made

 those representations with the intent to defraud and deceive Plaintiff into donating. (ECF 278-7 ¶¶

 408, 420, 444, 446, 450-51.) Accordingly, the Court denies Defendants’ Motion for Summary

 Judgment as to Count I against Pastor Lee. See Kreschollek, 223 F.3d at 204.

                                       b) World Mission New Jersey

        Regarding Count I against World Mission New Jersey, the SAC sufficiently states a claim

 for intentional fraud against World Mission New Jersey under a vicarious liability theory. To state

 a claim for vicarious liability, a plaintiff must adequately allege “(1) that a master-servant

 relationship existed and (2) that the tortious act of the servant occurred within the scope of that

 employment.” Haviland v. Lourdes Med. Ctr. of Burlington Cnty., Inc., 272 A.3d 912, 918 (N.J.

 2022) (quoting Carter v. Reynolds, 815 A.2d 460, 463 (N.J. 2003)). Pastor Lee is alleged to be the

 agent of World Mission New Jersey and his alleged misrepresentation occurred in the scope of his

 employment as pastor for World Mission New Jersey. (ECF 49, SAC ¶ 147.) Because Plaintiff

 establishes a master-servant relationship between World Mission New Jersey and Pastor Lee,

 Count I against World Mission New Jersey survives under the theory that World Mission New

 Jersey is vicariously liable for intentional fraud based on Pastor Lee’s alleged misrepresentations.

        In assessing Count I against World Mission New Jersey at a motion for summary judgment

 inquiry, the Court notes that there are no allegations as to World Mission New Jersey




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 independently making material misrepresentations of fact. However, the Court determines that

 there are genuine issues of material fact as to several elements for intentional fraud for Pastor Lee

 that attach to World Mission New Jersey under a theory of vicarious liability. See Section III.A.3.a,

 supra. In addition, the parties have submitted evidence that Pastor Lee has a formalized

 relationship with the World Mission entities. (ECF 278-7 ¶¶ 339-40, 342.) As such, the genuine

 issues of material fact that exist for Count I against Pastor Lee also exist for Count I against World

 Mission New Jersey. See Kreschollek, 223 F.3d at 204. Accordingly, the Court denies Defendants’

 Motion for Summary Judgment as to Count I against World Mission New Jersey.

        B. Intentional Fraud Based on Nondisclosures (Count II)

        Count II alleges intentional fraud arising out of failure to disclose identity of World

 Mission’s leadership and beneficiaries of charitable donations. (ECF 49, SAC at 18.) Plaintiff

 brought Count II against World Mission South Korea, World Mission New Jersey, Chang, Kim,

 Pastor Lee, and Byrne. (Id.) As discussed in Section III.A.1 supra, Defendants World Mission

 South Korea, Chang, and Kim are dismissed from this action. Therefore, the Court will assess this

 claim as it relates to World Mission New Jersey, Pastor Lee, and Byrne.

                                1. Duty to Disclose

        In New Jersey, fraudulent omission claims require the defendant to have a duty to disclose

 the omitted information. Citizens United Reciprocal Exch. v. Meer, 321 F. Supp. 3d 479, 491

 (D.N.J. 2018); Stockroom, Inc. v. Dydacomp Dev. Corp., 941 F. Supp. 2d 537, 546 (D.N.J. 2013)

 (“Silence can be fraudulent under common law in circumstances where there is a duty to

 disclose.”). Three general classes of transactions give rise to a duty to disclose: (1) fiduciary

 relationships such as attorney and client; (2) where, because of the nature of the transaction or the

 parties’ position toward each other, “trust and confidence . . . is necessarily implied[;]” and (3)




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 where contracts or transactions are “intrinsically fiduciary” because of their “essential nature” and

 thus “necessarily call [] for perfect good faith and full disclosure, without regard to any particular

 intention of the parties.” Citizens United Reciprocal Exch., 321 F. Supp. 3d at 491 (citing United

 Jersey Bank v. Kensey, 704 A.2d 38, 43-44 (N.J. Super. Ct. App. Div. 1997)).

        The relationship between Plaintiff and World Mission New Jersey, Pastor Lee, and Byrne

 is not a traditional fiduciary relationship such as attorney and client, nor is it a contractual or

 transactional relationship that is intrinsically fiduciary because of its “essential nature” that calls

 for full faith and disclosure. See Citizens United Reciprocal Exch., 321 F. Supp. 3d at 491. As

 such, the Court assesses whether the relationship between Plaintiff and the remaining Defendants

 necessarily implies trust and confidence to impose a legal duty to disclose the identity of the church

 leadership and the beneficiaries of the charitable donations.

        Plaintiff cites F.G. v. MacDonell as a case where a court imposed a fiduciary duty in a

 clergy-parishioner relationship. 696 A.2d 697, 701 (N.J. 1997). However, this Court finds F.G.

 unavailing as applied to this case. In F.G., the New Jersey Supreme Court explicitly states that

 “[t]he free exercise of religion does not permit members of the clergy to engage in inappropriate

 sexual conduct with parishioners who seek pastoral counseling.” Id. The court’s discussion hinged

 upon the sexual nature of the transgression from the clergyman—an issue that is not at play in this

 case. Plaintiff argues that World Mission New Jersey, Pastor Lee, and Byrne had a duty to disclose

 the beneficiaries of the donations and the identities of the church’s leadership. Plaintiff does not

 argue that Defendants had a duty to not engage in inappropriate sexual conduct in the context of

 pastoral counseling. As such, this Court refuses to impose a duty to disclose upon World Mission

 New Jersey, Pastor Lee, and Byrne. Therefore, the Court dismisses Count II on the basis that




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 Defendants World Mission New Jersey, Pastor Lee, and Byrne did not have a duty to disclose;

 Plaintiff subsequently fails to state a claim for intentional fraud based on nondisclosures. 2

                                      2. Fraudulent Concealment

          In her opposition brief, Plaintiff concedes that the Second Amended Complaint is

 “inartfully [sic] drafted making it unclear whether Cause of Action #2 is intended to be based on

 nondisclosure or concealment.” (ECF 277, Opp. at 15.) Plaintiff argues that Count II “should be

 read as an allegation of fraudulent concealment, which does not require that a duty to disclose be

 established.” (Id.) At the motion for summary judgment stage, this Court refuses to read Count II

 as an allegation of fraudulent concealment when the SAC explicitly pleads the cause of action as

 intentional fraud based on nondisclosure. (ECF 49, SAC at 18.) Even if the Court opted to read

 Count II as a fraudulent concealment claim, this count would still fail. Plaintiff cites the Second

 Restatement of Torts to argue that a fraudulent concealment claim does not impose a duty to

 disclose. However, the elements of a fraudulent concealment claim in New Jersey are (1) a duty

 on behalf of the defendant to disclose to the plaintiff a material fact; (2) the failure to disclose that

 fact; (3) an intention to defraud or deceive the plaintiff; (4) action taken by the plaintiff in

 justifiable reliance on the concealment; and (5) damages as a result of the defendant’s concealment.

 In re Johnson & Johnson Talcum Powder, 553 F. Supp. 3d 211, 230-31 (D.N.J. 2021); Arcand v.

 Brother Int’l Corp., 673 F. Supp. 2d 282, 305 (D.N.J. 2009); United Cap. Funding Grp. LLC v.

 Remarkable Foods, LLC, No. 21-3291, 2023 WL 5722910, at *4 (D.N.J. Sept. 5, 2023) (“To state


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            The Court bases its dismissal of Count II on the lack of duty issue and therefore does not engage in the
 analysis for the First Amendment defense offered by Defendants. (ECF 271, MSJ at 11-15.) The Court notes that for
 the surviving counts, Plaintiff’s case must be constrained to the causes of action specified in this Opinion and
 accompanying Order. To the extent that Count II seeks to assert liability for intentional fraud arising out of failure to
 disclose the identity of church leadership—in particular, that church members believed that Zhang was “Mother God,”
 —this Court refuses to “encroach on the autonomy of religious institutions when they inquire into ecclesiastical law
 and governance.” Askew v. Trs. of Gen. Assembly of Church of the Lord Jesus Christ of the Apostolic Faith Inc., 684
 F.3d 413, 418 (3d Cir. 2012). As this case proceeds, this Court will continue to apply neutral principals of law to
 decide issues that do not implicate religious doctrine. See Jones v. Wolf, 443 U.S. 595, 602 (1979).


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 a claim for fraudulent concealment, a plaintiff must plead, among other things, ‘a legal obligation

 to disclose.’”). Here again, there are three specific types of relationships that create a duty to

 disclose when alleging fraudulent concealment, including: (1) fiduciary relationships, such as

 principal and agent, client and attorney, or beneficiary and trustee; (2) relationships where one

 party expressly reposits trust in another party, or else from the circumstances, such trust necessarily

 is implied; and (3) relationships involving transactions so intrinsically fiduciary that a degree of

 trust and confidence is required to protect the parties. Lightning Lube, Inc. v. Witco Corp., 4 F.3d

 1153, 1185 (3d Cir. 1993) (citing Berman v. Gurwicz, 458 A.2d 1311, 1313 (N.J. Super. Ct. Ch.

 Div. 1981)); Vandergroef v. Atl. Aviation Corp., No. 22-05920, 2023 WL 3173678, at *4 (D.N.J.

 May 1, 2023).

        For the reasons discussed in Section III.B.2 supra, Count II fails for lack of an operative

 duty to disclose whether the claim was for fraudulent omission or fraudulent concealment.

 Accordingly, Count II of the SAC is dismissed.

        C. Intentional Fraud Based on Nondisclosures (Count III)

        Count III alleges intentional fraud arising out of failure to disclose that charitable donations

 were used to create, train, and maintain slave labor. (ECF 49, SAC at 27.) Plaintiff brings Count

 III against all Defendants. (Id.) All Defendants listed in the complaint are: World Mission New

 Jersey, World Mission South Korea, Chang, Kim, Pastor Lee, Bong Lee, Byrne, Whalen, Lozada,

 Big Shine Worldwide, Inc., Albright Electric LLC, Lincoln Grill & Café LLC. As discussed in




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 Section III.A.1 supra, Defendants World Mission South Korea, Chang, and Kim are dismissed

 from this action.

                                 1. Sua Sponte Dismissal of Victor Lozada, Richard Whalen,

                                      Big Shine Worldwide, and Albright Electric for Failure to

                                      State a Claim Pursuant to Rule 12(b)(6)

         As discussed in Section III.A.2 supra, the SAC fails to make any allegations that

 sufficiently state a claim for intentional fraud—based on either misrepresentation or

 nondisclosure—against defendant Bong Lee. The SAC fails to make any legally relevant

 allegations as to Lincoln Grill. Similarly, the SAC fails to state a claim against Victor Lozada,

 Richard Whalen, Big Shine Worldwide, and Albright Electric.

         Before reaching the duty requirement issue, the SAC does not state a claim against Lozada

 in the first instance. Nowhere in the SAC does Plaintiff allege that Lozada made any material

 misrepresentation of a presently existing or past fact, nor does she allege that Lozada intended that

 Plaintiff rely on a misrepresentation he made to her. (See generally ECF 49, SAC.) Rather, the

 SAC states that Lozada was “responsible for the indoctrination of male members” of World

 Mission New Jersey and asserts a legal conclusion that Lozada owed Plaintiff a duty to disclose

 that the “money raised by World Mission New Jersey would be used to create, train, and maintain

 a slave labor force . . . .” (ECF 49, SAC ¶ 169.) As such, Plaintiff fails to state a claim for intentional

 fraud against Lozada. Count III against Lozada is accordingly dismissed.

         Further, in the same way Count I against Lincoln Grill fails as discussed in Section III.A.2

 supra, Count III against Richard Whalen, Big Shine Worldwide, and Albright Electric fails for

 total absence of specific factual allegations. The SAC makes no affirmative allegations as to

 Richard Whalen, Big Shine Worldwide, and Albright Electric whatsoever and relies instead on




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 impermissible group pleading throughout the complaint. See Galicki, 2015 WL 3970297, at *2;

 Falat, 2013 WL 1163751, at *3. Due to the absence of allegations capturing Richard Whalen, Big

 Shine Worldwide, and Albright Electric, the SAC fails to state a claim against each of these

 Defendants. As such, the Court dismisses Richard Whalen, Big Shine Worldwide, and Albright

 Electric from this action. 3 See Bryson, 621 F.2d at 559; Michaels, 955 F. Supp. at 331.

                                    2. Duty to Disclose

         Additionally, Count III also fails for lack of a duty to disclose. Both Counts II and III were

 pled as intentional fraud arising out of failures to disclose. As discussed in Section III.B.1 supra,

 intentional fraud for failure to disclose requires that the defendant had a duty to disclose the omitted

 information. Citizens United Reciprocal Exch., 321 F. Supp. 3d at 491; Stockroom, Inc., 941 F.

 Supp. 2d at 546. Here again, three general transactions give rise to a duty to disclose: (1) fiduciary

 relationships such as attorney and client; (2) where, because of the nature of the transaction or the

 parties’ position toward each other, “trust and confidence . . . is necessarily implied[;]” and (3)

 where contracts or transactions are “intrinsically fiduciary” because of their “essential nature” and

 thus “necessarily call[] for perfect good faith and full disclosure, without regard to any particular

 intention of the parties.” Citizens United Reciprocal Exch., 321 F. Supp. 3d at 491 (citations

 omitted).

         The remaining Defendants for Count III are World Mission New Jersey, Pastor Lee, Bong

 Lee, and Tara Byrne. As stated before, the relationships between Plaintiff and World Mission New

 Jersey, Pastor Lee, Bong Lee, and Byrne are not traditional fiduciary relationships such as attorney

 and client, and they are not contractual or transactional relationships that are intrinsically fiduciary



         3
             Count III is the only cause of action brought against “all defendants.” (ECF 49, SAC at 27.) Dismissing
 Count III against Richard Whalen, Big Shine Worldwide, and Albright Electric therefore dismisses them from the
 entire action.


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 because of their “essential nature” that calls for full faith and disclosure. See id. As such, the Court

 assesses whether the relationships between Plaintiff and the remaining Defendants necessarily

 imply trust and confidence to impose a legal duty to disclose “that charitable donations were used

 to create, train, and maintain slave labor.” (ECF 49, SAC at 27.) Here again, this Court refuses to

 impose this duty to disclose upon the remaining Defendants. Therefore, the Court dismisses Count

 III for failure to state a claim for intentional fraud based on nondisclosures.

         D. Intentional Infliction of Emotional Distress (Count IV)

         Count IV alleges intentional infliction of emotional distress against World Mission South

 Korea, Chang, Kim, World Mission New Jersey, Pastor Lee, Bong Lee, Byrne and Lozada. (ECF

 49, SAC at 32.) As discussed in Section III.A.1 supra, Defendants World Mission South Korea,

 Chang, and Kim are dismissed from this action. The Court will assess this claim as it relates to

 World Mission New Jersey, Pastor Lee, Bong Lee, Byrne, and Lozada.

                                  1. Sua Sponte Dismissal of World Mission New Jersey, Bong

                                     Lee, and Victor Lozada, for Failure to State a Claim

                                     Pursuant to Rule 12(b)(6)

         The SAC fails to make any allegations that sufficiently state a claim for intentional

 infliction of emotional distress against Defendants World Mission New Jersey, Bong Lee, and

 Victor Lozada. To make a prima facie case for intentional infliction of emotional distress in New

 Jersey, a plaintiff must show:

         (1) the defendant acted intentionally [or recklessly]; (2) the defendant’s conduct
         was so outrageous in character and so extreme in degree, as to go beyond all
         possible bounds of decency, and to be regarded as atrocious, and utterly intolerable
         in a civilized community; (3) that the conduct proximately caused the plaintiff




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         emotional distress; and (4) the emotional distress was so severe that no reasonable
         person could be expected to endure it.

 Cagno v. Ivery, No. 19-20384, 2022 WL 17887231, at *8 (D.N.J. Dec. 23, 2022) (citing Segal v.

 Lynch, 993 A.2d 1229, 1239 (N.J. Super. Ct. App. Div. 2010). The SAC does not make any specific

 allegations that state a claim for intentional infliction of emotional distress against World Mission

 New Jersey, Bong Lee, or Victor Lozada. (See generally ECF 49, SAC.) The SAC is devoid of

 any facts of specific acts that World Mission New Jersey, Bong Lee, or Victor Lozada individually

 perpetrated against Plaintiff. There are no allegations of specific conduct that would put

 Defendants on notice of the conduct for which Plaintiff brings a claim. Instead, the SAC makes

 multiple legally conclusory statements that are insufficient to state a claim for intentional infliction

 of emotional distress as to these Defendants. The Court therefore dismisses Count IV against

 World Mission New Jersey, Bong Lee, and Victor Lozada. See Bryson, 621 F.2d at 559; Michaels,

 955 F. Supp. at 331.

                                2. SAC States a Claim of IIED Against Pastor Lee and Byrne

         The SAC does, however, sufficiently state a claim for intentional infliction of emotional

 distress against Byrne and Pastor Lee. The Court addresses the claim against each defendant in

 turn.

         The SAC sufficiently states a claim against Byrne for intentional infliction of emotional

 distress. As discussed in Section III.D.1 supra, to establish a prima facie case for intentional

 infliction of emotional distress in New Jersey, a plaintiff must show:

         (1) the defendant acted intentionally [or recklessly]; (2) the defendant’s conduct
         was so outrageous in character and so extreme in degree, as to go beyond all
         possible bounds of decency, and to be regarded as atrocious, and utterly intolerable
         in a civilized community; (3) that the conduct proximately caused the plaintiff
         emotional distress; and (4) the emotional distress was so severe that no reasonable
         person could be expected to endure it.




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 Cagno, 2022 WL 17887231, at *8 (D.N.J. Dec. 23, 2022) (citations omitted). In this instance, each

 element of intentional infliction of emotional distress is sufficiently alleged: (1) Byrne

 intentionally or recklessly directed Plaintiff not to have children and coerced her to have an

 abortion, (ECF 49, SAC ¶¶ 73-74, 77, 181); (2) Byrne’s conduct was extreme and outrageous, (id.

 ¶¶ 73-74, 77, 180-6); (3) Byrne’s actions were the cause of Plaintiff’s distress, (id. ¶¶ 77); and (4)

 Plaintiff’s emotional distress was severe. (Id. ¶ 77.)

        With respect to Pastor Lee, the SAC sufficiently states a claim for intentional infliction of

 emotional distress against Pastor Lee under a vicarious liability theory. To state a claim for

 vicarious liability, a plaintiff must adequately allege “(1) that a master-servant relationship existed

 and (2) that the tortious act of the servant occurred within the scope of that employment.” Haviland

 v. Lourdes Med. Ctr. Of Burlington Cnty., Inc., 272 A.3d 912, 918 (N.J. 2022) (quoting Carter v.

 Reynolds, 815 A.2d 460, 463 (N.J. 2003)). Byrne is alleged to be the agent of Pastor Lee, and she

 allegedly forced Plaintiff to have an abortion at Pastor Lee’s direction within the scope of

 enforcement of World Mission policy. (ECF 49, SAC ¶ 169.) Thus, the SAC states a claim against

 Pastor Lee for intentional infliction of emotional distress. Liability may vicariously attach to Pastor

 Lee to the extent that Pastor Lee directed Byrne to enforce World Mission policy. The Court now

 turns to the motion for summary judgment inquiry.

                                3. No Genuine Issues of Material Fact as to IIED Against

                                    Pastor Lee and Byrne

        In assessing the motion for summary judgment, the Court determines that there are no

 genuine issues of material fact regarding Byrne. Plaintiff failed to present evidence concerning an

 essential element of her case, thereby necessarily rendering all other facts immaterial. See Katz,

 972 F.2d at 55 (citations omitted). Plaintiff’s Statement of Disputed Material Facts admits that




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 Plaintiff never spoke to Byrne or any other World Mission member about her decision to have an

 abortion. (ECF 278-7 ¶¶ 99, 273.) As such, Plaintiff fails to provide the Court with evidence as to

 a material element of the IIED claim. Further, because there are no genuine issues of material fact

 as to the IIED claim against Byrne, the IIED claim against Pastor Lee based on a vicarious liability

 theory also fails at the motion for summary judgment stage. The Court recognizes that there are

 genuine issues of fact as to other individuals who may have contributed to Plaintiff’s emotional

 distress; however, those claims were either never alleged or failed to be sufficiently alleged

 pursuant to Rule 12(b)(6). As such, because there exists no genuine issue of material fact regarding

 intentional infliction of emotional distress, the Court grants Defendants’ Motion for Summary

 Judgment as to Count IV.

        E. Negligence (Count V)

        Count V alleges negligence against World Mission South Korea, Chang, Kim, World

 Mission New Jersey, Pastor Lee, Bong Lee, Byrne, and Lozada. (ECF 49, SAC at 34.) As discussed

 in Section III.A.1 supra, Defendants World Mission South Korea, Chang, and Kim are dismissed

 from this action. The Court will assess this claim as it relates to World Mission New Jersey, Pastor

 Lee, Bong Lee, Byrne, and Lozada.

                               1. Sua Sponte Dismissal of Pastor Lee, Bong Lee, Byrne, and

                                   Lozada for Failure to State a Claim Pursuant to Rule

                                   12(b)(6)

        The SAC fails to make any allegations that sufficiently state a claim of negligence against

 Defendants Pastor Lee, Bong Lee, Byrne and Victor Lozada. Under New Jersey law, to sustain a

 common law cause of action in negligence, a plaintiff must show four core elements: “(1) [a] duty

 of care, (2) [a] breach of [that] duty, (3) proximate cause, and (4) actual damages.” Weinberg v.




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 Dinger, 524 A.2d 366, 373 (N.J. 1987) (citing W. Keeton et al., Prosser and Keeton on the Law

 of Torts, § 30 at 164-65 (5th ed. 1984)). The SAC does not make any specific allegations that state

 a claim against Pastor Lee, Bong Lee, Byrne, or Victor Lozada. (See generally ECF 49, SAC.)

 Beyond group pleading issues that permeate the SAC, the SAC also cabins its negligence count

 by claiming that Defendants owed a duty of care to Plaintiff while on the premises of World

 Mission New Jersey. (ECF 49, SAC at ¶ 189.) The SAC alleges that each Defendant breached their

 duty by allowing financial fraud, coercive persuasion, and indoctrination via impermissible group

 pleading. (Id. ¶ 190.) As such, the SAC only substantiates a negligence claim against World

 Mission New Jersey; the SAC alleges a duty (id. ¶ 189), breach of that duty (id. ¶ 190), proximate

 cause (id. ¶¶ 191-92), and actual damages (id.) regarding World Mission New Jersey. The SAC is

 otherwise void of allegations of a specific duties of care, breach of specific duties, and proximate

 cause. See Weinberg, 524 A.2d at 373. There are no allegations of specific conduct that would put

 Pastor Lee, Bong Lee, Byrne, and Victor Lozada on notice of the conduct for which Plaintiff brings

 a claim. Instead, the SAC makes multiple legally conclusory statements that are insufficient to

 state a claim for negligence as to these Defendants. The Court therefore dismisses Count V against

 Pastor Lee, Bong Lee, Byrne, and Lozada. See Bryson, 621 F.2d at 559; Michaels, 955 F. Supp. at

 331.

                                2. Statute of Limitations

 Defendants assert a statute of limitations defense against Plaintiff’s negligence claim, arguing that

 her first two complaints do not allege negligence. (ECF 271, MSJ at 33-34.) Plaintiff argues that

 her negligence claim is timely pursuant to the relation back doctrine. (ECF 277, Opp. at 47-49.) The

 Court deems Plaintiff’s negligence claim to be timely under New Jersey law and the Federal Rules

 of Civil Procedure. Under New Jersey law, negligence claims are subject to a two-year statute of




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 limitations. Reeves v. Cnty. Of Bergen, No. 18-cv-14061, 2023 WL 8520742, at *5 (D.N.J. Dec.

 8, 2023). In deciding whether the amendment in this case relates back to the date of the original

 pleading, the Court first considers whether New Jersey law—which is the law that provides the

 applicable statute of limitations as discussed above—would allow relation back. Fed. R. Civ. P.

 15(c)(1)(A). The New Jersey Court Rules contain a general relation back rule, which provides that

 “[a]n amendment changing the party against whom a claim is asserted relates back if” the claim

 asserted in the amended complaint arose out of the conduct set forth in the original pleading, and

 if within the statute of limitations period the new party

        1) has received such notice of the institution of the action that the party will not be
        prejudiced in maintaining a defense on the merits, and (2) knew or should have
        known that, but for a mistake concerning the identity of the proper party, the action
        would have been brought against the party to be brought in by amendment.
 N.J. Ct. R. 4:9-3. Federal Rule 15(c) provides that an amendment to a pleading relates back to the

 date of the original pleading when:

        (A) the law that provides the applicable statute of limitations allows relation back;
        (B) the amendment asserts a claim or defense that arose out of the conduct,
        transaction, or occurrence set out — or attempted to be set out — in the original
        pleading; or
        (C) the amendment changes the party or the naming of the party against whom a
        claim is asserted, if Rule 15(c)(1)(B) is satisfied and if, within the period provided
        by Rule 4(m) for serving the summons and complaint, the party to be brought in by
        amendment:
                (i) received such notice of the action that it will not be prejudiced in
                defending on the merits; and
                (ii) knew or should have known that the action would have been brought
                against it, but for a mistake concerning the proper party’s identity.
 Fed. R. Civ. P. 15(c)(1).

                                        a) Timeliness of Initial Pleading

        First, for the negligence claim against World Mission New Jersey to be timely, the pleading

 that the Second Amended Complaint relates back to must have been timely. Plaintiff’s initial

 Complaint was filed on March 18, 2014. (ECF 1.) Plaintiff’s final date of association with World


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 Mission New Jersey was December 2012. (ECF 278-7 ¶¶ 810, 816-17.) Accordingly, Plaintiff’s

 filing of her initial Complaint was within the two-year statute of limitations.

                                        b) Conduct, Transaction, or Occurrence

        Second, Plaintiff’s negligence claim must arise out of the same transaction or occurrence.

 Plaintiff argues that the language in the SAC’s negligence count alleges the same conduct

 described in the original complaint. (ECF 277, Opp. at 49.) In the initial complaint, Plaintiff alleges

 that World Mission New Jersey indoctrinated Plaintiff with irrational fears, exploited her to do the

 bidding of World Mission, forced her to suppress doubts she had about World Mission, and made

 her lose the ability to extricate herself from World Mission. (ECF 1 ¶¶ 329, 337-40.) These

 allegations include similar details and are about the same conduct and occurrences alleged in the

 Second Amended Complaint.

                                        c) Notice

        Defendants do not contest that they had sufficient notice to satisfy Rule 15(c)(1)(C)(i).

                                        d) Knew or Should Have Known

        Defendants also do not contest that they knew an action had been brought against them,

 satisfying Rule 15(c)(1)(C)(ii).

        As such, the Court determines that the relation-back doctrine applies and the statute of

 limitations defense fails.

                                3. New Jersey Charitable Immunity Act Defense

        Defendants argue they are immune from the negligence suit pursuant to the New Jersey

 Charitable Immunity Act (“NJCIA”). N.J. Stat. Ann. § 2A:53A–7(a). The NJCIA provides

 immunity from tort liability where the entity being sued: (1) is a non-profit corporation; (2) is

 organized exclusively for religious, charitable, or educational purposes; and (3) was advancing




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 those purposes “at the time of the injury to plaintiff who was then a beneficiary of the charitable

 works.” Bieker v. Cmty. House of Moorestown, 777 A.2d 37, 42 (N.J. 2001). The law is “deemed

 to be remedial and shall be liberally construed.” N.J. Stat. Ann. § 2A:53A–10. Plaintiff

 acknowledges World Mission New Jersey’s non-profit status. (ECF 49, SAC ¶ 7.) However, there

 remain genuine issues of material fact as to whether World Mission New Jersey is (1) organized

 exclusively for religious, charitable, or educational purposes and (2) whether World Mission New

 Jersey was advancing those purposes at the time of Plaintiff’s claims. (ECF 278-7 ¶¶ 406, 408,

 441-53, 473-74.) The Court therefore does not reach the issue of whether World Mission New

 Jersey qualifies for the Charitable Immunity Act defense at this juncture.

                               4. Genuine Issues of Material Fact Regarding Negligence

        For the motion for summary judgment inquiry, there exist genuine issues of material fact

 as to whether World Mission New Jersey owed a duty of care to Plaintiff, breached that duty, was

 the proximate cause, and caused damages to Plaintiff. (ECF 278-7 at 15-78.) Plaintiff’s Statement

 of Disputed Material Facts presents the Court with sufficient evidence to deny Defendants’ Motion

 for Summary Judgment for Count V.

        F. Vicarious Liability (Count VI)

        Count VI alleges “[vicarious liability a]gainst World Mission South Korea, Chang, Kim,

 World Mission New Jersey, Pastor Lee, Bong Lee, Byrne[,] and Lozada.” (ECF 49, SAC at 35.)

 As discussed in Section III.A.1 supra, Defendants World Mission South Korea, Chang, and Kim

 are dismissed from this action. The Court has discussed the extent to which theories of vicarious

 liability attach to World Mission New Jersey and Pastor Lee in Section III.A.3.a and Section




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 III.D.2, supra, respectively. The Court will assess the remainder of this claim as it relates to Bong

 Lee, Byrne, and Lozada.

          To state a claim for vicarious liability, a plaintiff must adequately allege “(1) that a master-

 servant relationship existed and (2) that the tortious act of the servant occurred within the scope of

 that employment.” Haviland, 272 A.3d at 918 (citations omitted). Plaintiff failed to plead sufficient

 facts to demonstrate how her claims impose vicarious liability upon Bong Lee, Byrne, or Lozada.

 The SAC does not specify or identify any employees of Bong Lee, Byrne, or Lozada. (See

 generally ECF 49, SAC.) As such, a claim for vicarious liability fails against Bong Lee, Byrne,

 and Lozada. Therefore, the Court dismisses Count VI against Bong Lee, Byrne, and Lozada for

 failure to state a claim. See Bryson, 621 F.2d at 559; Michaels, 955 F. Supp. at 331.

    IV.      Conclusion

          For the reasons stated above, Defendant’s Motion for Summary Judgment is GRANTED

 IN PART AND DENIED IN PART. Count I for intentional fraud based on false representations

 survives against World Mission New Jersey and Pastor Lee; Count V for negligence survives

 against World Mission New Jersey. An appropriate order follows.


                                                                 /s/ Jamel K. Semper      .
                                                                 HON. JAMEL K. SEMPER
                                                                 United States District Judge

 Orig: Clerk
 cc:   James B. Clark, U.S.M.J.
       Parties




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